Case 9:22-cv-81294-AMC Document 87-1 Entered on FLSD Docket 09/13/2022 Page 1 of 3



              IN TH E UM TED STATES DISD ICT COW T FOR TH E
                       SOW H ERN DISTRICT O F FLORD A


   D ON AT,TJJ.TRtx    ,

                                 PlaintiE N o.9:22-cw 81294-AM C



   U N ITED STATES OF AM ERICA ,


                               D efendant


                                      ORDER
        TllismatterCOM ES NOW before the Courton M r.RajK.Patel'sResponseto
  D efendant's M otion atD kt.69,and the following isORD RRED :

     ( 1M .
          r.Patel'sM otion forlntezvention isGRANTED .
           ( 1TheIntervention isoneofright'underFed.R.Civ.P.24(a).
           E1TheIntervention isperznissiveu derFed.R.Civ.P.24(b).
     E 1NIr.Patel'sM otion fozLeavetoPxoceedin Forma PauperisisG      ED.
     ( 1Thecom plaintisDISM ISSED under
           E 1Fed.R.Civ.P.12(b)(2).
           ( )Fed.R.Civ.P.12(b)(6).
           ( 1Fed.R.Civ.P.12(b)(7).
           ( 1Unclean HandsDoctrine.
           ()PoliticalQuestion Doctrine.
     E)Thedismiqsalofthecomplaintis
           (1W ITHOIJT PREJUDICE.
Case 9:22-cv-81294-AMC Document 87-1 Entered on FLSD Docket 09/13/2022 Page 2 of 3




           (1W ITH PREJUDICE.
     (1Allseized docum entsand otherproperty isORDERED to
           ()Rem ain with thecom 't,or
           (1Beretm ned to thePlaintm ,M .
                                         r.Donald J.Tmzmp.
     E1After the previous happenings, then now , M r. Patel's intervention is
        D ISY SSED W ITH OW PREM          ICE.



  D ON E AN là ORD ERED in cham bezs at Fort Pierce,Florida, this            day of

                   2022



                                                    H ON .ATT,EEN M .CAN N ON
                                                    U nited StatesD istrictJudge



  D istribution to allattorneys and pro sehtigants ofrecord.
    Case
      *
         9:22-cv-81294-AMC Document 87-1 Entered on FLSD Docket 09/13/2022 Page 3 of 3
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                                  CERTIW CATE O F SKRW CE
      1 certify thatI served a copy ofthe foregoing Proposed Order on 09/12/2022 to below
      individualsvia e-m ail:

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      D ated:Septem ber 12,2022



                                      Respe fully sub 'tted,



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